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A02458                Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. I I/20I6)
                      Sheet I


                                              UNITED STATES DISTRICT COURT
                                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
         Plaintiff,                                                         Case No.: 6:15-CR-00345-1-MC
v.                                                                          USM Number: 77083-065
SCOTT ANTHONY SHIPMAN                                                       Mark Bennett Weintraub,
                                                                            Defendant's Attorney
         Defendant.
                                                                            Frank R. Papagni,
                                                                            Assistant U.S. Attorney
THE DEFENDANT:
 ~pleaded   guilty to count 3 of the Superseding Indictment.
The defendant is adjudicated guilty of the following offense(s):
                Title, Section & Nature of Offense                                      Date Offense Concluded           Count Number
18:641, 2 Theft of Government Property                                        Between on or about 4/13/2015 and               3
                                                                                   on or about 6/11/2015


The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
DThe defendant has been found not guilty on count(s) and is discharged as to such count(s).
~ Counts I and 2 of the Indictment and Counts I and 2 of the Superseding Indictment are dismissed on the motion of the United
States.
~The defendant shall pay a special assessment in the amount of$ I 00.00 for Count 3 payable immediately to the Clerk of the U.S.
District Court. (See also the Criminal Monetary Penalties Sheet.)
IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the defendant's
economic circumstances.
                                                                             June 29, 2017
                                                                             Date of Imposition of Sentence


                                                                             Signature of Judicial Officer
                                                                             Michael J. McShane, U.S. District Judge
                                                                             Name and Title of Judicial Officer
                                                                             ...r....,<...,   s--
                                                                            ..J.yfie           ,   2017
                                                                             Date
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AO 2458         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 11/2016)
                Sheet 4 - Probation
DEFENDANT: SCOTT ANTHONY SHIPMAN                                                                                     Judgment-Page 2 of6
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                                                            PROBATION
The defendant is hereby sentenced to probation for a term of three (3) years.

                                                MANDATORY CONDITIONS
  1.      You must not commit another federal, state or local crime.
  2.      You must not unlawfully possess a controlled substance.
  3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
          release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                DThe above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
  4.      ~You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
  5.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
  6.      D You must participate in an approved program for domestic violence. (check if applicable)
  7.      ~You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 663A, and 3664. (check if
          applicable)
  8.      You must pay the assessment imposed in accordance with 18 U .S.C. § 3013.
  9.      If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10.      You must notify the court of any material change in your economic circumstances that might affect your ability to pay
          restitution, fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                Sheet 4A - Probation
DEFENDANT: SCOTT ANTHONY SHIPMAN                                                                                      Judgment-Page 3 of6
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                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
          your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
          different time frame.
  2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
  4.      You must answer truthfully the questions asked by your probation officer.
  5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
          living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
          change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
          probation officer within 72 hours of becoming aware ofa change or expected change.
  6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
          you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
          officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
          or your job responsibilities), you must notify the probation officer at least l 0 days before the change. If notifying the
          probation officer at least l 0 days in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
  8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
          been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
          permission of the probation officer.
  9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
          that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
          nunchakus or tasers).
 11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
 12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
          may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
          contact the person and confirm that you have notified the person about the risk.
 13.      You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's S i g n a t u r e - - - - - - - - - - - - - - - - - - - - -                      Date-----------
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                Sheet 4D - Probation
DEFENDANT SCOTT ANTHONY SHIPMAN                                                                                      Judgment-Page 4 of6
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                                      SPECIAL CONDITIONS OF SUPERVISION
  1.      You must follow a curfew or home detention schedule as prescribed by the probation officer for a period of six (6) months,
          which may include radio frequency, global positioning surveillance, or other means of location monitoring as directed by the
          probation officer. After 90 days, the probation officer will have the discretion as to whether defendant must continue home
          detention/location monitoring. You must follow the rules and regulations of the location monitoring program. You must pay
          all or part of the costs oflocation monitoring as determined by the probation officer, and you must pay any costs associated
          with lost or damaged monitoring equipment.


  2.      You must not communicate, or otherwise interact, with Larry Alan Larsen, Amanda Lynn Taylor or Trevor John Swafford,
          either directly or through someone else. Also, you must not communicate, or otherwise interact, with Sky Anthony Shipman,
          either directly or through someone else, without first obtaining the permission of the probation officer.

  3.      You must submit your person, property, house, residence, vehicle, papers, or office to a search conducted by a United States
          probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
          that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
          condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
          searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

  4.      You must submit to substance abuse testing to determine if you have used a prohibited substance. Such testing may include
          up to twelve (12) urinalysis tests per month. You must not attempt to obstruct or tamper with the testing methods.

  5.      You must participate in a substance abuse treatment or alcohol abuse treatment program, which may include inpatient
          treatment, and follow the rules and regulations of that program. The probation officer will supervise your participation in the
          program (provider, location, modality, duration, intensity, etc.). The program may include urinalysis testing to determine if
          you have used drugs or alcohol. You must not attempt to obstruct or tamper with the testing methods.

  6.      You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances (e.g.,
          synthetic marijuana, bath salts, etc.) that impair a person's physical or mental functioning, whether or not intended for human
          consumption, except with the prior approval of the probation officer.

  7.      You must not go to, or remain at any place where you know controlled substances are illegally sold, used, distributed, or
          administered without first obtaining the permission of the probation officer. Except as authorized by court order, you must
          not possess, use or sell marijuana or any marijuana derivative (including THC) in any form (including edibles) or for any
          purpose (including medical purposes). Without the prior permission of the probation officer, you must not enter any location
          where marijuana or marijuana derivatives are dispensed, sold, packaged, or manufactured.

  8.      You must not knowingly enter any establishment where alcohol is the primary item for sale without first obtaining the
          permission of the probation officer.

  9.      You must take all mental health medications that are prescribed by your treating physician.

 10.      You must participate in a mental health treatment program and follow the rules and regulations of that program. The
          probation officer, in consultation with the treatment provider, will supervise your participation in the program (provider,
          location, modality, duration, intensity, etc.).

 11.      If the judgment imposes a financial penalty, including any fine or restitution, you must pay the financial penalty in
          accordance with the Schedule of Payments sheet of this judgment. You must also notify the court of any changes in economic
          circumstances that might affect your ability to pay this financial penalty.
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AO 2458         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 11/2016)
                Sheet 5 - Criminal Monetary Penalties
DEFENDANT: SCOTT ANTHONY SHIPMAN                                                                                     Judgment-Page 5 of6
CASE NUMBER: 6:15-CR-00345-1-MC


                                             CRIMINAL MONETARY PENALTIES
The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments set forth in this
judgment.

                        Assessment                                              Restitution              TOTAL
                   (as noted on Sheet   1)


TOTALS                    $100.00                                                $385.00                 $ 385.00


DThe determination of restitution is deferred until _ _ _ _ _ _ _ _ . An Amended Judgment in a Criminal Case will be entered
after such determination.

~The   defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be
paid in full prior to the United States receiving payment.

                                                                          Amount of Restitution             Priority Order or Percentage
          Name of Payee                 Total Amount of Loss 1                 Ordered                               of Payment

Bureau of Land Management           $                                 $385.00
3 I 06 Pierce Parkway
Suite E
Springfield, OR 97477
TOTALS                              $ 0.00                            $ 385.00


Dlfapplicable, restitution amount order pursuant to plea agreement:$_ _ __

DThe defendant must pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(t). All of the payment options on the Schedule of Payments
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

DThe court determined that the defendant does not have the ability to pay interest and it is ordered that

          DThe interest is waived for the 0 fine and/or 0 restitution.

          DThe interest requirement for the 0 fine and/or 0 restitution is modified as follows:




                  Any payment shall be divided proportionately among the payees named unless otherwise specified.




1
 Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and l l 3A of Title 18, United States Code, for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 2458         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 11/2016)
                Sheet 6 - Schedule of Payments
DEFENDANT: SCOTT ANTHONY SHIPMAN                                                                                        Judgment-Page 6 of6
CASE NUMBER: 6:15-CR-00345-1-MC


                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment 2 of the total criminal monetary penalties shall be as follows:

          A.   IZ!Lump sum payment of$485.00 due immediately, balance due
                    Dnot later than              , or
                    Din accordance with D C, D D, or D E below; or
          B.   IZ!Payment to begin immediately (may be combined with DC, D D, or D E below); or
          C.   D If there is any unpaid balance at the time of defendant's release from custody, it shall be paid in monthly installments
               ofnot less than$             , or not less than 10% of the defendant's monthly gross earnings, whichever is greater, until
               paid in full to commence immediately upon release from imprisonment.
          D.   D Any balance at the imposition of this sentence shall be paid in monthly installments of not less than$                or
               not less than 10% of the defendant's monthly gross earnings, whichever is greater, until paid in full to commence
               immediately.
          E.   D Special instructions regarding the payment of criminal monetary penalties:


Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties, including restitution, shall be due during the period of imprisonment as follows: (I) 50% of
wages earned ifthe defendant is participating in a prison industries program; (2) $25 per quarter ifthe defendant is not working in a
prison industries program.

It is ordered that resources received from any source, including inheritance, settlement, or any other judgment, shall be applied to any
restitution or fine still owed, pursuant to 18 USC § 3664(n).

All criminal monetary penalties, including restitution, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the Clerk of Court at the address below, unless otherwise directed by the Court, the
Probation Officer, or the United States Attorney.

                                     Clerk of Court
                                     U.S. District Court - Oregon
                                     405 E. 8th Ave., Ste. 2100
                                     Eugene, OR 97401


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

IZI Joint and Several

Case Number
Defendant and Co-Defendant Names                                                      Joint and Several      Corresponding Payee, if
(including Defendant number)                                Total Amount              Amount                 appropriate

***Larry Alan Larsen - 6: 15-CR-00345-2-MC                   $35,614.00               $385.00
***Scott Anthony Shipman -6:15-CR-00345-1-MC                 $ 385.00                 $385.00
***Sky Anthony Shipman - 6: l 5-CR-00345-3-MC                $ 2,735.85               $385.00

DThe defendant shall pay the cost of prosecution.

DThe defendant shall pay the following court costs:

DThe defendant shall forfeit the defendant's interest in the following property to the United States:

2
  Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
